Case 2:05-cr-20167-SH|\/| Document 49 Filed 08/24/05 Page 1 of 2 Page|D 3

FH.ED BY __, D,c_
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 95 AUG zh PH 3: '5

WESTERN DIVISION
THOM‘XS M. GOULD
am u,s. merger comr

WfU 115 Tr`-'_ i.i.§"_f'~&PHB
UNITED STATES OF AMERICA, *
Plaintiff, *

vs. * No. 05-20167-MA

ROBERT LESTER, *
Defendant. *

 

ORDER GRANTING MOTION TO DISMISS INDICTMENT

 

lt is hereby ORDERED that the Government's Motion To Dismiss Counts 1, 2, 4, 5, and 7
Of the lndictment in the above-entitled and numbered criminal case as to ROBERT LESTER is
hereby GRANTED.

DONE at Memphis, Tennessee, this z_m’bay of August, 2005.
yW/'VL`

UNITED STATES DISTRICT IUDGE

 

[ 9 C 91 5 l \ cou\pl ance
l us doc w 9 te re ec 0\ . d ‘{
k r ~

with P\\\le 55 amici 321`\;1: t»~.v=\

¢/7

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:05-CR-20167 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Kevin G. Ritz

U.S. ATTORNEY'S OFFICE- Memphis
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/1emphis7 TN 38103

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

1\/1emphis7 TN 38128

Williarn D. Massey
MASSEY & MCCLUSKY
3074 East Street

1\/1emphis7 TN 38128

Honorable Sarnuel Mays
US DISTRICT COURT

